Case 2:20-cv-01985-ODW-JDE Document 30 Filed 10/25/21 Page 1 of 1 Page ID #:236




 1                                                                              JS-6
 2
 3
 4
 5
 6
 7
 8                     United States District Court
 9                     Central District of California
10
11   UNITED AERONAUTICAL                        Case № 2:20-cv-01985-ODW (JDEx)
     CORPORATION et al.,
12
                      Plaintiffs,               JUDGMENT
13
          v.
14
     UNITED STATES AIR FORCE et al.,
15
16
                      Defendants.

17
18        Pursuant to the Court’s Order Granting Defendants’ Motion to Dismiss, it is
19   therefore ORDERED, ADJUDGED, and DECREED as follows:
20        1.    Plaintiffs shall recover nothing from Defendants; and
21        2.    Plaintiffs’ Complaint is dismissed without prejudice.
22        IT IS SO ORDERED.
23
24        October 25, 2021
25
26                              ____________________________________
27                                       OTIS D. WRIGHT, II
                                 UNITED STATES DISTRICT JUDGE
28
